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                    Exhibit A
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18   NETFLIX, INC.
19                              UNITED STATES DISTRICT COURT
20                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
21                                          OAKLAND DIVISION
22

23   LAURI VALJAKKA,                                Case No. 4:22-cv-01490-JST

24                 Plaintiff,                       DEFENDANT NETFLIX, INC.’S
                                                    SECONDFIRST AMENDED ANSWER TO
25          v.                                      PLAINTIFF’S THIRD AMENDED
                                                    COMPLAINT, ADDITIONAL DEFENSES,
26   NETFLIX, INC.,                                 AND COUNTERCLAIMS

27                 Defendant.                       Judge:   Hon. Jon S. Tigar
28

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 1           Defendant Netflix, Inc. (“Netflix”) hereby files its First Second Amended Answer,
 2   Additional Defenses, and Counterclaims to Lauri Valjakka’s (“Mr. Valjakka’s” or “Plaintiff’s”)
 3   Third Amended Complaint for Patent Infringement (“Complaint”). The response below reflects the
 4   current status of Netflix’s knowledge and belief regarding the subject matter of the allegations.
 5   Unless specifically admitted below, Netflix denies each and every allegation, claim, and prayer for
 6   relief contained in the Complaint. Netflix’s use of titles and headings found in the Complaint is
 7   solely for ease of reference and should not be construed to admit any allegations contained in them.
 8                                                    PARTIES
 9           1.      Netflix lacks knowledge or information sufficient to form a belief as to the truth of
10   the allegations in paragraph 1 of the Complaint and therefore denies on that basis.
11           2.      Admitted.
12           3.      Denied.
13                                              JURISDICTION
14           4.      To the extent paragraph 4 of the Complaint consists of conclusions of law, no
15   response is required. Netflix admits that the Complaint purports to bring an action for patent
16   infringement arising under the patent laws of the United States, 35 U.S.C. §§ 1, et seq., but denies
17   that it has committed any acts that would give rise to any cause of action asserted in the Complaint.
18   For purposes of this action only, Netflix admits that this Court has subject matter jurisdiction over
19   this action, but denies all other allegations.
20           5.      To the extent paragraph 5 of the Complaint consists of conclusions of law, no
21   response is required. For the purposes of this action only, Netflix does not contest personal
22   jurisdiction in this Court with respect to the particular products and particular allegations identified
23   in the Complaint. Netflix denies that it has committed any acts that would give rise to any cause of
24   action asserted in the Complaint. Netflix denies all remaining allegations in this paragraph.
25           6.      To the extent paragraph 6 of the Complaint consists of conclusions of law, no
26   response is required. Netflix does not contest personal jurisdiction in this Court with respect to the
27   particular products and particular allegations identified in the Complaint. Netflix denies that it has
28

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 1   committed any acts in this District or in the State of California that would give rise to any cause of
 2   action asserted in the Complaint. Netflix denies all remaining allegations in this paragraph.
 3          7.      Netflix admits that it is registered to do business in the State of California and has
 4   transacted business in this District. Netflix denies that it has committed any acts that would give
 5   rise to any cause of action asserted in the Complaint. Netflix denies all remaining allegations in this
 6   paragraph.
 7          8.      To the extent paragraph 8 of the Complaint consists of conclusions of law, no
 8   response is required. Netflix does not contest personal jurisdiction in this Court with respect to the
 9   particular products and particular allegations identified in the Complaint. Netflix denies that it has
10   committed any acts that would give rise to any cause of action asserted in the Complaint. Netflix
11   denies all remaining allegations in this paragraph.
12          9.      To the extent paragraph 9 of the Complaint consists of conclusions of law, no
13   response is required. Netflix does not contest personal jurisdiction in this Court with respect to the
14   particular products and particular allegations identified in the Complaint. Netflix admits that it
15   advertises and makes its products available within this District. Netflix admits that it has advertised
16   to hire employees to be located in this District. Netflix denies that it has committed any acts that
17   would give rise to any cause of action asserted in the Complaint. Netflix denies all remaining
18   allegations in this paragraph.
19          10.     Denied.
20          11.     To the extent paragraph 11 of the Complaint consists of conclusions of law, no
21   response is required. Netflix does not contest that venue is proper in this Court with respect to the
22   particular products and particular allegations identified in the Complaint. Netflix admits that its
23   principal address is 100 Winchester Circle, Los Gatos, CA 95032. Netflix denies that it has
24   committed any acts that would give rise to any cause of action asserted in the Complaint. Netflix
25   denies all remaining allegations in this paragraph.
26                                       THE PATENTS-IN-SUIT
27          12.     To the extent paragraph 12 of the Complaint consists of conclusions of law, no
28   response is required. Netflix admits that what purports, on its face, to be United States Patent

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 1   No. 8,495,167 (“the ’167 Patent”) entitled “Data Communications Networks, Systems, Methods
 2   and Apparatus” and issued on July 23, 2013, naming inventor Lauri Valjakka, is attached to the
 3   Complaint as Exhibit A. Netflix lacks knowledge or information sufficient to form a belief about
 4   the truth of the remaining allegations in paragraph 12 of the Complaint and therefore denies on that
 5   basis.
 6             13.    To the extent paragraph 13 of the Complaint consists of conclusions of law, no
 7   response is required. Netflix admits that what purports, on its face, to be United States Patent
 8   No. 10,726,102 (“the ’102 Patent”) entitled “Method of and System for Providing Access to Access
 9   Restricted Content to a User” and issued on July 28, 2020, naming inventor Lauri Valjakka, is
10   attached to the Complaint as Exhibit B. Netflix lacks knowledge or information sufficient to form
11   a belief about the truth of the remaining allegations in paragraph 13 of the Complaint and on that
12   basis denies them.
13             14.    Netflix admits that the Complaint uses the term “patents-in-suit” to refer to the ’167
14   and ’102 patents but denies that the ’167 and ’102 patents are valid or enforceable under the United
15   States Patent Laws.
16             15.    Netflix lacks knowledge or information sufficient to form a belief about the truth of
17   the allegations in paragraph 15 of the Complaint and on that basis denies them.
18                                  ACCUSED INSTRUMENTALITIES
19             16.    Netflix admits that the Complaint uses the terms “Accused Instrumentalities” or
20   “Accused Products” to refer to “Netflix’s Open Connect program and Netflix websites (e.g.,
21   https://www.netflix.com),” but denies that Netflix’s Open Connect program and Netflix’s website
22   (https://www.netflix.com) or any other Netflix products and/or services infringe any valid or
23   enforceable claim of the Patents-in-Suit.
24                                                 COUNT I
25                   (ALLEGED PATENT INFRINGEMENT OF THE ʼ167 PATENT)
26             17.    Netflix incorporates its responses to the preceding paragraphs as if fully set forth
27   herein.
28             18.    Denied.

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 1             19.    Denied.
 2             20.    Denied.
 3             21.    Netflix admits that Exhibit D to the Complaint attaches a letter from Lauri Valjakka
 4   dated September 29, 2014, purportedly sent via United States Postal Service Certified Mail to
 5   Gregory K. Peters of Netflix. Netflix denies every other allegation of paragraph 21.
 6             22.    Denied.
 7             23.    Netflix denies that its products and/or services infringe any valid or enforceable
 8   claim of the Patents-in-Suit and that there was or is any need or basis to design around the claims
 9   of the ’167 Patent once Netflix became aware of the patent and Plaintiff’s allegations.
10             24.    Denied.
11             25.    Netflix admits that its products and/or services are available to customers throughout
12   the United States and the State of California, including in this District, but denies that any such
13   products and/or services infringe any valid or enforceable claim of the Patents-in-Suit.
14             26.    Denied.
15             27.    Netflix admits that Exhibit C to the Complaint attaches an exemplary claim chart.
16   Netflix denies every other allegation of paragraph 27, including that the Accused Products infringe
17   any valid or enforceable claim of the Patents-in-Suit.
18                                                 COUNT II
19                   (ALLEGED PATENT INFRINGEMENT OF THE ʼ102 PATENT)
20             28.    Netflix incorporates its responses to the preceding paragraphs as if fully set forth
21   herein.
22             29.    Denied.
23             30.    Denied.
24             31.    Netflix denies that its products and/or services infringe any valid or enforceable
25   claim of the Patents-in-Suit and that there was or is any need or basis to design around the claims
26   of the ’102 Patent once Netflix became aware of the patent and Plaintiff’s allegations.
27             32.    Denied.
28

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 1           33.     Netflix admits that its products and/or services are available to customers throughout
 2   the United States and in the State of California, including in this District, but denies that any such
 3   products and/or services infringe any valid or enforceable claim of the Patents-in-Suit.
 4           34.     Denied.
 5           35.     Netflix admits that Exhibit C to the Complaint attaches an exemplary claim chart.
 6   Netflix denies every other allegation of paragraph 35, including that the Accused Products infringe
 7   any valid or enforceable claim of the Patents-in-Suit.
 8                                         PRAYER FOR RELIEF
 9           36.     Netflix denies any factual assertions contained in Plaintiff’s Prayer for Relief, and
10   further denies that Plaintiff is entitled to the relief he seeks or any other relief. Netflix denies any
11   express or implied allegation within this paragraph that it has infringed, or is now infringing, any
12   patent, and denies that Plaintiff is entitled to damages, injunctive relief, enhanced or treble damages,
13   attorney’s fees, or any other relief. Netflix also denies that this is an exceptional case pursuant to
14   35 U.S.C. § 285 based on any action taken by Netflix. Netflix denies any liability to Plaintiff, denies
15   that Plaintiff is entitled to any relief from Netflix, and denies each allegation contained in Plaintiff’s
16   Prayer for Relief. To the extent that any allegations in the Complaint have not been specifically
17   admitted or denied, Netflix denies them.
18                                NETFLIX’S ADDITIONAL DEFENSES
19           37.     Netflix incorporates by reference the foregoing paragraphs in their entirety and
20   asserts the following additional defenses. In asserting these defenses, Netflix does not admit that it
21   bears the burden of proof on any issue and does not accept any burden it would not otherwise bear.
22   Netflix reserves all other defenses pursuant to Rule 8(c) of the Federal Rules of Civil Procedure,
23   the Patent Laws of the United States, and any other defenses, at law or in equity, that now exist or
24   in the future may be available based on discovery and further factual investigation in this case.
25                              First Additional Defense (Lack of Standing)
26           38.     Plaintiff lacks clear title and standing to sue for infringement as the rightful owner
27   of the Patents-in-Suit. For example, Plaintiff does not own the ’167 Patent and therefore lacks
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 1   standing to pursue a claim of patent infringement asserting that patent. Netflix hereby incorporates
 2   paragraphs 3-55 of the Counterclaims below.
 3                            Second Additional Defense (Non-Infringement)
 4          39.     Netflix has not infringed, and does not infringe, under any theory of infringement,
 5   any valid, enforceable claim of the Patents-in-Suit, whether directly, indirectly, contributorily,
 6   through the doctrine of equivalents, or otherwise, and is not inducing and has not induced others to
 7   infringe the Patents-in-Suit. To the extent Plaintiff alleges indirect infringement, Netflix is not and
 8   has not knowingly caused indirect infringement by any third party of any valid or enforceable claim
 9   of the Patents-in-Suit, and the Accused Products have substantial non-infringing uses.
10                                 Third Additional Defense (Invalidity)
11          40.     Each asserted claim of the Patents-in-Suit is invalid for failure to comply with one
12   or more of the statutory requirements specified in Title 35 of the United States Code, including, but
13   not limited to 35 U.S.C. §§ 101, 102, 103, 112, 116, 119, and/or 120.
14          41.     For example, and without limitation, each of the asserted claims of the ’167 Patent
15   are directed to the unenforceable, abstract idea of distributing the delivery of content among
16   multiple actors. Each claim element of the asserted claims recites only features that are well-
17   understood, routine, and conventional, and nothing in the claims transforms the abstract idea into
18   an inventive concept.
19          42.     For example, and without limitation, each of the asserted claims of the ’102 Patent
20   are directed to the unenforceable, abstract idea of providing restricted access to content using
21   multiple levels of validation. Each claim element of the asserted claims recites only features that
22   are well-understood, routine, and conventional, and nothing in the claims transforms the abstract
23   idea into an inventive concept.
24          43.     For example, and without limitation, at least the following prior art references
25   anticipate and/or render obvious (when considered in combination with each other), the claims of
26   the ʼ167 Patent that are identified in the Complaint: U.S. Patent Nos. 6,912,514; 6,950,431;
27   6,970,939; 7,139,827; 7222,186; 7,228,416; 7,373,103; 5,905,952; 7,398,312; 6,708,213;
28   8,392,611; 7,149,797; U.S. Patent Application No. 2006/0114350; and Publication Nos. WO

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 1   00/65776; WO 01/22688; HU 222,337; EP 0726663; EP 0863646; EP 0709994; Publications
 2   Zegura et al., Application-Layer Anycasting: A Server Selection Architecture and Use in a
 3   Replicated Web Service; Kung et al., Hierarchical Peer-to-Peer Networks; Amini et al., Distribution
 4   Requirements for Content Internetworking; Green et al., Content Internetworking Architectural
 5   Overview; Cisco Systems, Inc., Close Encounters: Cisco end-to-end solution pushes streaming and
 6   other feature-rich content closer to end users; Cisco Systems, Inc., Speeding and Scaling Web Sites
 7   Using Cisco Content-Delivery Technology White Paper; and Prior Art Systems Cisco Systems,
 8   Inc., Cisco Content Delivery Network (CDN); Inktomi Corporation, Inktomi Content Distributor;
 9   F5 Networks, Inc., Global-Site Controller; and Starburst Software, Inc., StarBurst OmniCast.
10          44.     For example, and without limitation, at least the following prior art references
11   anticipate and/or render obvious (when considered in combination with each other), the claims of
12   the ʼ102 Patent that are identified in the Complaint: U.S. Patent Nos. 6,891,953; and 8,359,473;
13   U.S. Patent Application Nos. 2016/0198202; 2003/0161473; 2004/0064714; 2004/0098592;
14   2002/0018566; 2007/0208711; 2010/0185868; 2008/0071617; 2008/0098212; 2005/0018854;
15   2010/0174608; 2012/0042389; and Publication No. KR 101103403 B1; Publications William
16   Rosenblatt, William Trippe, Stephen Mooney, Digital Rights Management; Ramya Venkataramu,
17   Analysis and Enhancement of Apple’s Fairplay Digital Rights Management; Eric Rescorla, SSL
18   and TLS: Designing and Building Secure Systems; Naganand Doraswamy, Dan Harkins, IPSec:
19   The New Security Standard for the Internet, Intranets, and Virtual Private Networks (Second
20   Edition); H. Krawczyk, M. Bellare, R. Canetti, HMAC: Keyed-Hashing for Message
21   Authentication (RFC 2104); Bruce Schneier, E-Mail Security: How to Keep Your Electronic
22   Messages Private; David K. Gifford, Cryptographic Sealing for Information Secrecy and
23   Authentication; and S. Kent, IP Encapsulating Security Payload (ESP) (RFC 2406); and Prior Art
24   Systems the Apple FairPlay system, the Google WideVine system, and the Microsoft PlayReady
25   system.
26          45.     The ’167 Patent is also invalid due to improper and/or incorrect inventorship,
27   including nonjoinder under 35 U.S.C. §§ 101, 111, 115, 116, 282, and/or pre-AIA 35 U.S.C.
28

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 1   § 102(f) for Mr. Valjakka’s intentional omission of Iiro Karesniemi as a co-inventor of the ’167
 2   Patent. Netflix hereby incorporates paragraphs 13-32 and 113-122 of the Counterclaims below.
 3                             Fourth Additional Defense (Failure to Mark)
 4          46.     On information and belief, Plaintiff’s claims for recovery are barred or limited, in
 5   whole or in part, prior to the date on which Netflix received actual notice of Plaintiff’s allegations
 6   of infringement concerning the Patents-in-Suit, including under 35 U.S.C. § 287.
 7                   Fifth Additional Defense (Prosecution Admissions & Estoppel)
 8          47.     Plaintiff’s claims are barred, in whole or in part, based upon prosecution history
 9   estoppel, prosecution history disclaimer, and/or the internally inconsistent litigation positions
10   Plaintiff or his predecessors-in-interest have explicitly or implicitly taken with respect to the
11   Patents-in-Suit in proceedings before the USPTO in the prosecution of the Patents-in-Suit. As a
12   result, Plaintiff is estopped to maintain that the claims of the Patents-in-Suit are of such scope or
13   have effect against any apparatus made, used, or sold by Netflix.
14                           Sixth Additional Defense (Equitable Doctrines)
15          48.     Plaintiff’s claims and relief sought in his Complaint are barred, in whole or in part,
16   by equitable doctrines including, without limitation, license, waiver, acquiescence, estoppel, and/or
17   unclean hands based on his past actions and omissions, which are contrary to the claims and relief
18   he now seeks. Netflix hereby incorporates paragraphs 13-102 of the Counterclaims below.
19                        Seventh Additional Defense (Limitation on Damages)
20          49.     Plaintiff’s claims for monetary damages, if any, are limited by the statute of
21   limitations and by 35 U.S.C. §§ 286, 287, and/or 288. Plaintiff is not entitled to any purported
22   damages suffered more than six (6) years prior to the filing of the Complaint.
23          50.     Plaintiff’s claims for monetary damages are also barred because Plaintiff is not
24   entitled to past damages that occurred prior to the assignment agreement for the ’167 Patent, signed
25   in 2021, which does not provide a right to sue for past infringement or collect past damages.
26                          Eighth Additional Defense (Inequitable Conduct)
27          51.     The Complaint and the purported claims for relief therein are barred because the
28   Patents-in-Suit, and each claim thereof, are unenforceable due to inequitable conduct, as set forth

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 1   below in Netflix’s Counterclaims. Netflix hereby incorporates paragraphs 13-97 of the
 2   Counterclaims below.
 3                                        RESERVATION OF RIGHTS
 4           52.      Netflix expressly reserves the right to assert any other legal or equitable defenses to
 5   which it is shown to be entitled, including all affirmative defenses under Rule 8(c) of the Federal
 6   Rules of Civil Procedure, the Patent Laws of the United States, and any other defenses that may
 7   now exist or in the future be available based on discovery or further factual investigation in this
 8   case.
 9                                          PRAYER FOR RELIEF
10           WHEREFORE, Defendant Netflix respectfully requests the following relief:
11           A. A dismissal with prejudice of Mr. Valjakka’s Complaint against Netflix;
12
             B. A denial of any and all relief sought by Mr. Valjakka;
13
             C. A declaration that Mr. Valjakka lacks title and standing to sue for infringement
14
                   because Mr. Valjakka is not the rightful owner of the ’167 Patent;
15

16           D. A declaration that Netflix has not infringed any of Mr. Valjakka’s patent rights and is
17                 not directly or indirectly infringing any asserted claim of the Patents-in-Suit;
18
             E. A declaration that the claims of the Patents-in-Suit are invalid for failure to comply
19
                   with one or more of the statutory requirements specified in Title 35 of the United
20
                   States Code, including, but not limited to 35 U.S.C. §§ 101, 102, 103, 112, 116, 119,
21
                   and/or 120;
22
             F. A declaration that the Patents-in-Suit, and each claim thereof, are unenforceable due to
23
                   inequitable conduct;
24

25           G. A judgment that this case is exceptional under 35 U.S.C. § 285;
26
             H. A judgment awarding Netflix its costs and attorneys’ fees; and
27

28

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 1        I. That Netflix be granted such other and additional relief as this Court deems just,
 2           equitable, and proper.
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 1                                    NETFLIX’S COUNTERCLAIMS
 2
             Netflix hereby alleges, on knowledge as to its own actions and upon information and belief
 3
     as to all other matters, as follows:
 4
                                                    PARTIES
 5
             1.      Netflix, Inc. is a Delaware corporation with a principal address of 100 Winchester
 6
     Circle, Los Gatos, CA 95032.
 7
             2.      On information and belief, Plaintiff Lauri Valjakka is a citizen of Finland having an
 8
     address located at Valtakatu 51, Vapaudenaukio Technopolis 2, 53100 Lappeenranta, Finland.
 9
                                        JURISDICTION AND VENUE
10
             3.      Subject to Netflix’s affirmative defenses and denials, Netflix alleges that this Court
11
     has jurisdiction over the subject matter of these Counterclaims under, without limitation, 28 U.S.C.
12
     §§ 1331, 1338(a), 2201 et seq., and the patent laws of the United States, 35 U.S.C. § 1 et seq.
13
             4.      This Court has personal jurisdiction over Mr. Valjakka at least because, in filing
14
     patent infringement actions against Netflix in the Northern District of California, Mr. Valjakka has
15
     submitted to the personal jurisdiction of this Court.
16
             5.      To the extent venue is proper for Mr. Valjakka’s claims, based solely on
17
     Mr. Valjakka’s filing of this action, venue is also proper for Netflix’s counterclaims under 28
18
     U.S.C. §§ 1391 and 1400(b) for purposes of this action. Moreover, Mr. Valjakka has consented to
19
     venue in this District at least by bringing this action in this District.
20
             6.      Mr. Valjakka’s Complaint alleges infringement of U.S. Patent Nos. 1,495,167 (“the
21
     ’167 Patent”) and 10,726,102 (“the ’102 Patent”) (“Asserted Patents”).
22
             7.      The ’167 Patent is titled “Data Communications Networks, Systems, Methods and
23
     Apparatus” and apparently issued on July 23, 2013, naming inventor Lauri Valjakka.
24
             8.      The ’102 Patent is titled “Method of and System for Providing Access to Access
25
     Restricted Content to a User” and apparently issued on July 28, 2020, naming inventor Lauri
26
     Valjakka.
27
             9.      Mr. Valjakka holds himself out as the purported owner of the ’167 and ’102 Patents.
28

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 1          10.     In his Complaint, Mr. Valjakka asserts that Netflix has infringed the ’167 and ’102
 2   Patents.
 3          11.     Pursuant to 28 U.S.C. § 2201(a), an actual and justiciable controversy has arisen and
 4   exists between Netflix and Mr. Valjakka. Netflix is entitled to a judicial determination and
 5   declaration that Mr. Valjakka does not have rights, title, and interests in the ’167 patent, and
 6   therefore lacks standing to assert the ’167 Patent against Netflix; that Netflix has not infringed and
 7   is not infringing the ’167 Patent; and that the ’167 Patent is invalid. Netflix is also entitled to a
 8   judicial determination and declaration that the ’167 ’102 Patents are unenforceable at least because
 9   of Mr. Valjakka’s inequitable conduct and acts of unclean hands before the U.S. Patent and
10   Trademark Office (“USPTO”).
11          12.     Netflix is entitled to a judicial determination and declaration that it has not infringed
12   and is not infringing the ’102 Patent, and that the ’102 Patent is invalid and unenforceable.
13                                     FACTUAL BACKGROUND
14          13.     Mr. Valjakka does not have standing to assert the ’167 Patent against Netflix or any
15   other defendants in federal court. This is because Mr. Valjakka does not own the ’167 Patent, and
16   he has known this fact since at least 2010—more than a decade before filing this lawsuit.
17          14.     Worse, Mr. Valjakka has known that he has no rights to any underlying invention
18   of the ’167 Patent since even before the issuance of that patent. And he was only able to secure
19   issuance of that Patent by submitting incomplete disclosures to the USPTO that made it appear as
20   though he owned full rights to the alleged invention when he did not.
21          15.     He was also able to secure issuance of the ’167 Patent by misrepresenting and failing
22   to disclose the significant contributions of another co-inventor, Mr. Iiro Karesniemi, to the
23   conception and reduction to practice of material aspects of the ’167 patent invention. In doing so,
24   Mr. Valjakka convinced the USPTO to remove Mr. Karesniemi as a named inventor on the ’167
25   patent without Mr. Karesniemi’s knowledge, permission, or consent. Mr. Valjakka’s intentional
26   misrepresentations to the USPTO amount to fraud and render the ’167 Patent unenforceable due to
27   his inequitable conduct.
28

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 1          16.     In reality, and as described more fully below, the rights to the invention of the ’167
 2   Patent had long been assigned to a company called Suomen Biisi Oy (“Suomen Biisi”) through a
 3   complicated series of agreements that Mr. Valjakka is well aware of.
 4          17.     Indeed, Mr. Valjakka knew that he had no rights and no title to the alleged invention
 5   of the ’167 Patent because he and Suomen Biisi were involved in a years-long contract dispute
 6   concerning whether an alleged breach of a December 20, 2005 DMTS Utilization Agreement
 7   caused rights to the invention of the ’167 Patent to revert from Suomen Biisi back to Mr. Valjakka.
 8          18.     On or around January 26, 2009, a Helsinki District Court decisively held that
 9   Suomen Biisi was the rightful owner of the ’167 Patent, and that no rights had reverted to
10   Mr. Valjakka under the DMTS Utilization Agreement. See Exhibit 1 (LV_002216 at 2222–26) (Jan.
11   26, 2009, Decision from Helsinki District Court); Exhibit 2 (NFX-VALJ-0011077 at 11083–87)
12   (English Translation of Jan. 26, 2009, Decision from Helsinki District Court).
13          19.     That decision was upheld by the Helsinki Court of Appeal on March 24, 2010. See
14   Exhibit 1 (LV_002216 at 2216–21) (Mar. 24, 2010, Decision from Helsinki Court of Appeals);
15   Exhibit 2 (NFX-VALJ-0011077 at 11077–82) (English Translation of Mar. 24, 2010, Decision
16   from Helsinki Court of Appeals).
17          20.     To this day, no rights in the ’167 Patent have reverted back to Mr. Valjakka by
18   operation of the DMTS Utilization Agreement.
19
         Iiro Karesniemi Conceived and Reduced to Practice Key Limitations of the ’167 Patent
20          21.     Around 1997, Mr. Valjakka founded a company called e-3 Solutions Oy (Ltd.) (“e-
21   3 Solutions”). In 2002, Mr. Valjakka hired Mr. Iiro Karesniemi as a software engineer to design,
22   develop, and commercialize the so-called “DMTS” system that is alleged to embody the purported
23   invention of the ’167 Patent.
24          22.     On or around August 2, 2001, Mr. Valjakka filed the European patent application
25   that eventually became European Patent No. 01660145 (“EP01660145”), the European counterpart
26   to the ’167 Patent. EP01660145 issued on August 30, 2006 and is titled “Terminals adapted to act
27   as relay servers for distributing packets in a client-server network.” The European patent names
28   both Mr. Valjakka and Mr. Karesniemi as co-inventors.
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 1          23.     On or around July 30, 2002, Mr. Valjakka and Mr. Karesniemi filed U.S. Patent
 2   App. No. 10/208,685 (“’685 Application”), which would eventually become the ’167 Patent. The
 3   ’167 Patent has a similar specification and patent claims and also claims priority to EP01660145.
 4          24.     The ’685 Application originally identified both Mr. Valjakka and Mr. Karesniemi
 5   as co-inventors. But unlike its European counterpart (EP01660145), when the ’167 Patent finally
 6   issued over a decade later on July 23, 2013—and after a long and sordid prosecution history—Mr.
 7   Valjakka emerged as the sole named inventor. Despite Mr. Karesniemi’s significant contributions
 8   to the ’167 Patent, he was dropped as a co-inventor of the ’167 Patent under false pretenses.
 9          25.     During prosecution of the application that ultimately issued as ’167 Patent,
10   Mr. Valjakka was aware that Mr. Karesniemi conceived and reduced to practice key aspects of the
11   alleged invention of the ’167 Patent. Mr. Karesniemi’s contributions enabled Mr. Valjakka to obtain
12   issuance of the ’167 Patent. Mr. Valjakka’s contributions were non-technical, while Mr.
13   Karesniemi’s contributions were so significant that Mr. Valjakka and counsel added Mr.
14   Karesniemi as a co-inventor on both applications.
15          26.     For example, Mr. Karesniemi made specific and significant contributions to the
16   invention of the ’167 Patent, including, on information and belief, by conceiving the definite idea
17   in order to make the data communications network operable and reducing the system to practice.
18   Without Mr. Karesniemi’s contributions, there would have been no functional system.
19          27.     Mr. Karesniemi also helped to draft the patent claims and specification that were
20   eventually submitted with the ’685 Application. For example, on information and belief, Mr.
21   Karesniemi helped explain the capabilities of the claimed “target terminal” and what information
22   the “target terminal” needed to receive. Mr. Karesniemi explained that the target terminal needed
23   to receive information about the data being requested, source terminal addresses, and further target
24   terminal addresses. He also clarified that the target terminal requests data as packets from the main
25   server or relay terminal, and relays data after a predefined amount of information is received. He
26   further clarified that the target terminal addresses are included in the data transfer request, and that
27   an acknowledgment is sent to the main server. These contributions from Mr. Karesniemi are
28   significant limitations of at least Claim 1 of the ’167 Patent.

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 1          28.     Furthermore, Mr. Valjakka justified removal of Mr. Karesniemi as an inventor based
 2   on his cancellation of original claims 9 and 26, which address “wherein the relative performances
 3   of said further relay servers are indicated in said transport request by ranking the addresses of the
 4   further target terminals in an ordered list.” During prosecution, the applicants thus acknowledged
 5   that Mr. Karesniemi was at least an inventor of the subject matter recited in claims 9 and 26. But
 6   the ranking of target terminal addresses in an ordered list in a transport request is not relevant to
 7   only claims 9 and 26 because it is also the only solution presented in the specification for
 8   accomplishing the method of the independent claims, which requires that the each “transport
 9   request includes . . . an indication of a relative performance of a further target terminal based on
10   the terminal performance information stored in the network information database.” And thus, Mr.
11   Karesniemi’s contributions to original dependent claims 9 and 26 are also inherently a part of his
12   contributions to each of the independent claims.
13          29.     After Mr. Karesniemi left his employment as a software engineer at e-3 Solutions,
14   Mr. Valjakka continued to ask Mr. Karesniemi for his help in prosecuting the application that led
15   to the issuance of the ’167 Patent.
16          30.     Mr. Karesniemi’s contributions as an inventor of the claimed technologies were
17   significant enough for Mr. Valjakka to recognize him as a named co-inventor of the European
18   counterpart to the ’167 Patent, EP01660145.
19          31.     In 2005, Mr. Valjakka even acknowledged in a bill of sale that the “main
20   inventor[s]” of the claimed invention “[are] Lauri Valjakka and hired co-inventor Iiro Karesniemi.”
21          32.     But for Mr. Karesniemi’s significant contributions to the conception and reduction
22   to practice of key claim limitations of the ’167 Patent, the ’167 Patent would not have issued.
23
                            Mr. Valjakka Assigned the Rights, Title, and Interest
24                  in the ’685 Application and the Claimed Invention to Suomen Biisi
            33.     On or around November 29, 2001, Mr. Karesniemi executed an employment
25
     agreement in which he assigned his rights in the ’685 Application and the claimed invention to e-3
26
     Solutions. See Exhibit 3 (LV2_001108 at 1116) (Karesniemi Employment Agreement).
27

28

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 1          34.     In 2003, Mr. Valjakka re-organized e-3 Solutions Oy (Ltd.) as e-3 Systems Ltd. Oy
 2   (Ltd.) (“e-3 Systems”).
 3          35.     However, when e-3 Systems was formed, Mr. Valjakka did not record any
 4   assignment of rights to the ’685 Application from e-3 Solutions to e-3 Systems. Mr. Karesniemi’s
 5   rights to the ’685 Application therefore remained with e-3 Solutions.
 6          36.     In 2005, Mr. Valjakka sold e-3 Systems to Suomen Biisi. Despite that sale, e-3
 7   Solutions still held Mr. Karesniemi’s rights to the ’685 Application. Moreover, at the time of the
 8   sale, there was no assignment of Mr. Valjakka’s interest in the ’685 Application to any other party.
 9   As such, the sale of assets from e-3 Systems to Suomen Biisi alone did not transfer any rights in
10   the ’685 Application from Mr. Karesniemi or Mr. Valjakka to Suomen Biisi.
11          37.     Recognizing this problem, Mr. Valjakka attempted to correct the chain of ownership
12   by filing a set of three nunc pro tunc agreements to retroactively grant rights to the ’685
13   Application.
14          38.     On or around August 28, 2007, Mr. Valjakka executed the first nunc pro tunc
15   agreement to retroactively assign his rights in the claimed invention to e-3 Solutions, effective
16   October 2, 2002. See Exhibit 4 (LV2_000220). Through this first nunc pro tunc agreement, both
17   Mr. Valjakka’s and Mr. Karesniemi’s rights in the clamed invention were transferred to e-3
18   Solutions.
19          39.     In the second nunc pro tunc agreement, Mr. Valjakka transferred the rights in the
20   claimed invention from e-3 Solutions to e-3 Systems, retroactively effective to June 4, 2003. See
21   Exhibit 4 (LV2_000220).
22          40.     Finally, in the third nunc pro tunc agreement, Mr. Valjakka transferred the rights to
23   the claimed invention from e-3 Systems to Suomen Biisi Oy, retroactively effective to November
24   16, 2005. See Exhibit 5 (LV2_000415).
25          41.     Thus, as of November 16, 2005, Suomen Biisi owned the rights to the ’685
26   Application and the claimed invention of the ’167 Patent based on a chain of title that was
27   retroactively created through these three nunc pro tunc agreements. Suomen Biisi obtained the
28   patent rights from e-3 Systems, not from Mr. Valjakka.

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 1          42.       Below is a chart showing the chain of title based on the three nunc pro tunc
 2   agreements that Mr. Valjakka signed and recorded in 2007. On information and belief, the nunc
 3   pro tunc agreements were made to effectuate the intent behind the 2005 sale of e-3 Systems to
 4   Suomen Biisi..
 5

 6

 7

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10

11
      In 2009, a Helsinki District Court Held That the 2005 DMTS Utilization Agreement Did Not
12                Revert Rights to the ’167 Patent from Suomen Biisi to Mr. Valjakka
13          43.       On December 20, 2005, in addition to the Bill of Sale transferring rights from e-3

14   Systems, Mr. Valjakka separately entered into a so-called “DMTS Utilization Agreement” with

15   Suomen Biisi. See Exhibit 6 (LV2_002913 at 2920).

16          44.       The DMTS Utilization Agreement governed Suomen Biisi’s rights to commercially

17   exploit the DMTS technology. Clause 8 of the DMTS Utilization Agreement provided for a

18   reversion of rights in the DMTS technology from Suomen Biisi to Mr. Valjakka (and Juha Setälä

19   and Pekka Pakarinen) under certain enumerated circumstances, including if Suomen Biisi fails to

20   prosecute the ’167 Patent. Id.

21          45.       In 2008, Mr. Valjakka filed suit against Suomen Biisi in the Helsinki District Court

22   asking the court to find that he was the rightful owner of the invention claimed in the issued

23   European Patent EP 1421759 and related pending applications, including the ’685 Application that

24   later issued as the ’167 Patent, alleging that rights should have reverted to him under Clause 8 of

25   the DMTS Utilization Agreement based on Suomen Biisi’s failure to fulfil its financial obligations

26   under the agreement and failure to make payments related to the registration of the patent.

27          46.       On January 26, 2009, the Helsinki District Court issued its ruling, rejecting

28   Mr. Valjakka’s request and finding that the patent rights transferred to Suomen Biisi as of

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 1   November 16, 2005, by operation of the nunc pro tuncs that he filed in 2007, a year before he
 2   brought suit. Under the nunc pro tunc agreements, Mr. Valjakka transferred his rights to e-3
 3   Solutions in 2002, which later passed through e-3 Systems to Suomen Biisi. As such, Mr. Valjakka
 4   had no rights to transfer to Suomen Biisi under the later-executed DMTS Utilization Agreement—
 5   which was executed on December 20, 2005.
 6          47.     The Court thus held that there were no rights that could have reverted under Clause
 7   8 of the DMTS Utilization Agreement because Mr. Valjakka had no rights to transfer under the
 8   DMTS Utilization Agreement, since he already assigned all his rights to Suomen Biisi before the
 9   effective date of the DMTS Utilization Agreement.
10          48.     The Helsinki District Court thus conclusively held that Mr. Valjakka was not the
11   rightful owner of EP 1421759 and related pending applications, including the ’685 Application that
12   later issued as the ’167 Patent.
13          49.     As a result, the Helsinki District Court found that, “It has been undisputed in the
14   case that according to the patent register, the holder of patent EP1421759 granted to invention
15   concerning ‘terminal devices adapted to serve as proxy servers in the distribution of packets in
16   customer/server data networks’ is Suomen Biisi Oy.”
17          50.     The Helsinki District Court further found that Mr. Valjakka and Suomen Biisi had
18   held meetings on March 22, 2007, and March 27, 2007, where Mr. Valjakka agreed that it “had
19   been unanimously stated in the meetings that all rights to the e-3 DMTS invention and software
20   belonging to the inventors and other participants in the development as well as the rights belonging
21   to e-3 Solutions Oy and e-3 Systems Oy have been transferred to Suomen Biisi Oy in full.”
22          51.     The Helsinki District Court further found that, “Lauri Valjakka and Iiro Karesniemi
23   have been the inventors.”
24          52.     The Helsinki District Court also ordered Mr. Valjakka to pay Suomen Biisi 4,858 €.
25          53.     By information and belief, Mr. Valjakka was aware of the Helsinki District Court’s
26   ruling as well as the court’s order for him to pay Suomen Biisi 4,858 € to compensate for its legal
27   expenses.
28

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 1          54.       On March 24, 2010, the Helsinki Court of Appeal affirmed the Helsinki District
 2   Court opinion.
 3          55.       By information and belief, Mr. Valjakka was aware of the Helsinki Court of
 4   Appeal’s affirmance of the Helsinki District Court’s opinion around the time that that appellate
 5   opinion was issued.
 6
     Mr. Valjakka Successfully Revived the Abandoned ’685 Application by Submitting Incomplete
 7    Information About the DMTS Utilization Agreement to the USPTO Alleging That He Had
                     Rights, Title, and Interest to Prosecute the ’685 Application
 8
            56.       In December 2009, the USPTO issued a non-final rejection of the ’685 Application,
 9
     but the applicants never responded.
10
            57.       In July 2010, the USPTO sent notice to the applicants that the ’685 Application was
11
     deemed abandoned for failure to file a timely response.
12
            58.       In December 2010, Mr. Valjakka filed a notice to the USPTO to revive the
13
     application. Mr. Valjakka represented that the lack of a response was unintentional, and that two of
14
     the three parties with interest in the ’685 Application did not receive notification that the patent
15
     application had been abandoned.
16
            59.       Mr. Valjakka further submitted statements to the USPTO from the DMTS
17
     Utilization Agreement as alleged evidence that the ownership interest in the ’685 Application had
18
     reverted to him, Juha Setälä, and Pekka Pakarinen based on a contractual obligation that was
19
     triggered upon Suomen Biisi’s failure to meet his obligations to prosecute the patent.
20
            60.       Mr. Valjakka did not submit a full copy of the DMTS Utilization Agreement or the
21
     opinions of the Helsinki District Court and/or the Helsinki Court of Appeal.
22
            61.       Mr. Valjakka thus relied on incomplete statements from the DMTS Utilization
23
     Agreement despite knowing and having been told twice by courts in Helsinki that he had no rights,
24
     title, or interest in the ’685 Application or the claimed invention.
25
            62.       He also relied on statements from the DMTS Utilization Agreement despite
26
     knowing that courts in Helsinki had held that Clause 8 of the DMTS Utilization Agreement could
27
     not have reverted any rights back to Mr. Valjakka because he had no rights to grant under the
28
     DMTS Utilization Agreement in the first place.
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 1          63.     In March 2011 the USPTO revived the petition, allowing Mr. Valjakka to continue
 2   prosecution of the ’685 Application. But for Mr. Valjakka’s submission of the select quotes from
 3   the UMTS Utilization Agreement, claiming to have reversionary rights in the ’685 Application, the
 4   Examiner would not have revived the ’685 Application.
 5
      Mr. Valjakka Misrepresents Mr. Karesniemi’s Contributions to the Claimed Invention of the
 6                   ’167 Patent in Order to Remove Him as a Named Inventor
            64.     On January 24, 2011, in response to a denial for a request for power of attorney,
 7
     Mr. Valjakka submitted an amendment cancelling dependent claims 9 and 26 of the ’685
 8
     Application.
 9
            65.     In conjunction with the supplemental amendment to cancel claims 9 and 26, Mr.
10
     Valjakka also submitted a Request to Correct Inventorship Under 35 U.S.C. § 1.48(b) to remove
11
     Mr. Karesniemi as a co-inventor, representing that Mr. Karesniemi’s contributions to the invention
12
     were limited to the cancelled dependent claims 9 and 26. In doing so, he also intentionally
13
     misrepresented and/or omitted Karesniemi’s significant contributions to the remaining claims of
14
     the ’167 patent application.
15
            66.     On or about January 7, 2013, the Examiner issued a Notice of Allowability for the
16
     ’167 Patent.
17
            67.     On January 7, 2013, Mr. Valjakka recorded a nunc pro tunc assignment retroactively
18
     effective as of June 23, 2010, to assign and revert rights in the ’685 Application from Suomen Biisi
19
     to Mr. Valjakka based on Clause 8 of the DMTS Utilization Agreement and Suomen Biisi’s failure
20
     to prosecute the ’685 Application. For this assignment, Mr. Valjakka recorded the DMTS
21
     Utilization Agreement, even though he knew at the time that the Helsinki District Court and
22
     Helsinki Court of Appeals had held that he had no rights to grant under the DMTS Utilization
23
     Agreement because Mr. Valjakka had already transferred his rights in the ’167 Patent to e-3
24
     Systems, e-3 Solutions, and then to Suomen Biisi a month before the DMTS Utilization Agreement
25
     was executed. On April 8, 2013, the USPTO again issued a denial for power of attorney because
26
     Mr. Valjakka’s submissions were lacking Mr. Karesniemi’s signature.
27

28

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 1          68.     On or about May 23, 2013, Mr. Valjakka once again submitted a Request to Correct
 2   Inventorship Under 35 U.S.C. § 1.48(b), alleging that the Examiner had failed to expressly act on
 3   Mr. Valjakka’s previous request to remove Karesniemi as a co-inventor. Mr. Valjakka again
 4   intentionally misrepresented Mr. Karesniemi’s contributions to the alleged invention of the ’167
 5   Patent in order to have him removed as a co-inventor.
 6          69.     The intentional deletion of Karesniemi’s name as an inventor of the ’167 Patent was
 7   done without Karesniemi’s knowledge, permission, or consent.
 8          70.     As a result of Mr. Valjakka’s request to correct inventorship, Mr. Karesniemi was
 9   deleted as a co-inventor of the ’167 Patent when that patent issued on July 23, 2013.
10                                       FIRST COUNTERCLAIM
11    Declaratory Judgment That the ’167 Patent Is Unenforceable Due to Inequitable Conduct
12          71.     Netflix restates and incorporates by reference the allegations of its counterclaims in
13   the preceding paragraphs.
14          72.     The ’167 Patent is unenforceable due to inequitable conduct and fraud on the
15   USPTO under 37 C.F.R. 1.56(a) at least because Mr. Valjakka knowingly and intentionally
16   misrepresented and/or failed to disclose full, complete, and accurate inventorship during the
17   prosecution of the application that led to the ’167 Patent, and thus Mr. Valjakka knowingly and
18   intentionally misrepresented and/or failed to disclose a material and known basis for invalidity at
19   least under 35 U.S.C. §§ 101, 111, 115, 116, 282, and/or pre-AIA 35 U.S.C. § 102(f).
20          73.     Each person involved in the prosecution of the ’167 Patent, including Mr. Valjakka,
21   owed a duty of candor to the Examiner during prosecution of the ’167 Patent.
22          74.     Each person involved in the prosecution of the ’167 Patent, including Mr. Valjakka,
23   had a duty to disclose and notify the Examiner of the correct co-inventors of the ’167 Patent.
24          75.     Mr. Valjakka intentionally and improperly removed Mr. Karesniemi as a co-
25   inventor of the ’167 Patent, even though he was aware of Mr. Karesniemi’s significant and relevant
26   contributions to the issued claims of that patent.
27          76.     At the time the patent application for the ’167 Patent was filed, Mr. Karesniemi was
28   a software engineer at e-3 Solutions.

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 1          77.     On information and belief, during prosecution of the application that ultimately
 2   issued as ’167 Patent, at least Mr. Valjakka was aware that Karesniemi conceived of and reduced
 3   to practice key aspects of the alleged invention of the ’167 Patent and enabled Mr. Valjakka to file
 4   the provisional application and the applications that led to the issuance of the ’167 Patent. For
 5   example, Mr. Karesniemi made specific and significant contributions that included the capabilities
 6   of the “target terminal” and what information the “target terminal” needed to receive.
 7   Mr. Karesniemi contributed that the target terminal needed to receive information about the data
 8   being requested, source terminal addresses, and further target terminal addresses. He also
 9   contributed that the target terminal requests data as packets from the main server or relay terminal,
10   and relays data after a predefined amount of information is received. He further clarified that the
11   target terminal addresses are included in the data transfer request, and that an acknowledgment is
12   sent to the main server. These contributions from Mr. Karesniemi are significant limitations of at
13   least Claim 1 of the ’167 Patent.
14          78.     But for Mr. Karesniemi’s significant contributions to the conception and reduction
15   to practice of key claim limitations of the ’167 Patent, the ’167 Patent would not have issued.
16          79.     Mr. Karesniemi’s contributions as an inventor of the claimed technologies were
17   significant enough for him to be recognized as a named inventor on the European counterpart to
18   the ’167 Patent, EP01660145. See Exhibit 7 (EP01660145).
19          80.     Indeed, Mr. Valjakka acknowledged that Mr. Karesniemi helped to draft the claims
20   that were eventually submitted in the application for EP01660145.
21          81.     Even after Mr. Karesniemi left his employment as a software engineer at e-3
22   Solutions, Mr. Valjakka continued to ask Mr. Karesniemi for his help in revising the specification
23   and claims of EP01660145.
24          82.     Nonetheless, during the prosecution of the ’167 Patent, when Mr. Valjakka was
25   attempting to reclaim ownership of the ’685 Application, he filed a supplemental amendment on or
26   around January 24, 2011, to cancel two dependent claims of the ’167 Patent, specifically dependent
27   claims 9 and 26.
28

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 1          83.     In conjunction with the supplemental amendment, Mr. Valjakka also submitted a
 2   request to remove Mr. Karesniemi, citing the cancellation of dependent claims 9 and 26. In
 3   submitting the request to remove Mr. Karesniemi, Mr. Valjakka implicitly represented that Mr.
 4   Karesniemi’s contributions to the subject patent application were limited to dependent claims 9 and
 5   26. In doing so, he also intentionally misrepresented and/or omitted Mr. Karesniemi’s significant
 6   contributions to the remaining claims of the ’167 patent application.
 7          84.     On or about January 7, 2013, the Examiner issued a Notice of Allowability to
 8   ultimately issue the ’167 Patent.
 9          85.     On or about May 23, 2013, Mr. Valjakka once again submitted a Request to Correct
10   Inventorship Under 35 U.S.C. § 1.48(b), alleging that the Examiner had failed to expressly act on
11   Mr. Valjakka’s previous request to remove Karesniemi as a co-inventor.
12          86.     As a result of Mr. Valjakka’s request to correct inventorship, Mr. Karesniemi was
13   deleted as a co-inventor of the ’167 Patent when that patent issued on July 23, 2013.
14          87.     The intentional deletion of Karesniemi’s name as an inventor of the ’167 Patent was
15   done without Karesniemi’s knowledge, permission, or consent.
16          88.     Despite Karesniemi’s conception and reduction to practice of key aspects of the
17   invention of the ’167 Patent, Mr. Valjakka intentionally mispresented Mr. Karesniemi’s
18   contributions to the conception and/or reduction to practice of the alleged invention of the ’167
19   Patent in order to have him removed as a co-inventor to that patent.
20          89.     The ’167 Patent is thus invalid because of nonjoinder of Mr. Karesniemi as a co-
21   inventor under 35 U.S.C. §§ 101, 111, 115, 116, 282, and pre-AIA 102(f).
22          90.     Mr. Valjakka intentionally misled the Examiner and/or omitted information material
23   to patentability (including inventorship) of the ’167 Patent.
24          91.     On information and belief, other individuals who held a duty of disclosure and duty
25   of candor to the USPTO, including the patent prosecution attorney(s) who represented him, were
26   also aware of Mr. Karesniemi’s significant contributions to the ’167 Patent, yet misrepresented to
27   and/or withheld that information from the Examiner.
28          92.     Proper inventorship is material to patentability.

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 1          93.     Mr. Valjakka thus committed inequitable conduct before the USPTO through their
 2   intentional acts to improperly remove Mr. Karesniemi as a joint inventor on the ’167 Patent.
 3          94.     The ’167 Patent is also unenforceable due to inequitable conduct and fraud on the
 4   USPTO under 37 C.F.R. 1.56(a) at least because Mr. Valjakka knowingly and intentionally
 5   submitted incomplete context for evaluating validity of the Utilization Agreement in order to revive
 6   the abandoned patent application for the ’167 Patent, thereby misrepresenting that he had ownership
 7   and title of the ’167 Patent. Mr. Valjakka’s failure to disclose the agreements related to the sales
 8   and invention of the ’167 Patent, and his failure to disclose the decisions of the Helsinki District
 9   Court and Helsinki Court of Appeal to the USPTO demonstrate a lack of candor and a reasonable
10   inference of an intent to deceive.
11          95.     The ’167 Patent is also unenforceable due to inequitable conduct and fraud on the
12   USPTO under 37 C.F.R. 1.56(a) at least because, at the time Mr. Valjakka submitted the Utilization
13   Agreement to the USPTO during prosecution of the ’167 Patent, he knew that title to the ’167
14   Patent had been transferred to Suomen Biisi, based on at least the decision of the Helsinki Court of
15   Appeal, and that no rights had reverted back to Mr. Valjakka by operation of the DMTS Utilization
16   Agreement. Mr. Valjakka’s failure to disclose the agreements related to the sales and invention of
17   the ’167 Patent, and his failure to disclose the decisions of the Helsinki District Court and Helsinki
18   Court of Appeal to the USPTO demonstrate a lack of candor and a reasonable inference of an intent
19   to deceive.
20          96.     Each of these false representations and/or deliberate omissions were material to
21   patentability, were made with the intent to deceive the USPTO, and were relied upon by the
22   Examiner in reviving the abandoned ’167 Patent application and/or ultimately issuing the ’167
23   Patent. But for the submission of these false representations and deliberate omissions, the ’167
24   Patent would not have issued.
25          97.     Netflix thus seeks a declaratory judgment that the ’167 Patent is unenforceable
26   because of Mr. Valjakka’s fraud on the USPTO and inequitable conduct.
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 1                               SECOND COUNTERCLAIM
       Declaratory Judgment That Mr. Valjakka’s Claims with Respect to the ’167 Patent and
 2
                       ’102 Patent Are Barred Because of Unclean Hands
 3           98.     Netflix restates and incorporates by reference the allegations of its counterclaims in
 4   the preceding paragraphs.
 5           99.     Netflix specifically incorporates by reference the allegations of its First
 6   Counterclaim seeking a declaration of unenforceability due to inequitable conduct in ¶¶ 13-97.
 7           100.    Despite not owning the ’167 Patent, Mr. Valjakka has produced documents during
 8   the course of this litigation representing that he owns the ’167 patent.
 9           101.    Mr. Valjakka’s misconduct with respect to the prosecution of the ’167 Patent, and
10   his litigation misconduct have immediate and necessary relation to the equity that he seeks with
11   respect to this entire litigation, including both the ’167 and ’102 Patents.
12           102.    Because of Mr. Valjakka’s inequitable conduct during prosecution of the ’167
13   Patent, and because of Mr. Valjakka’s bad faith pursuit of this litigation, Netflix respectfully seeks
14   a declaration that Mr. Valjakka’s claims with respect to the ’167 Patent and ’102 Patent should be
15   barred because of unclean hands.
16                                       THIRD COUNTERCLAIM
17              Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,495,167
18           103.    Netflix restates and incorporates by reference the allegations of its counterclaims in
19   the preceding paragraphs.
20           104.    On or about December 14, 2022, Mr. Valjakka filed his Complaint for Patent
21   Infringement asserting that Netflix infringes the ’167 Patent. An actual case or controversy exists
22   between Netflix and Mr. Valjakka as to whether the ’167 Patent is infringed by Netflix.
23           105.    Netflix has not infringed and is not infringing any valid or enforceable claim of the
24   ’167 Patent, willfully or otherwise, directly or indirectly, either literally or by application of the
25   doctrine of equivalents. For example, Claim 1[e] requires “wherein each such transport request
26   includes details of data to be retrieved, the address of the first server from which the data is to be
27   requested by the first target terminal, the addresses of at least one second target terminal to which
28   the data from the first server to be relayed by the first target terminal and an indication of a relative
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 1   performance of a further target terminal based on the terminal performance information stored in
 2   the network information database;” and the Accused Products do not infringe this element, at least
 3   under Plaintiff’s apparent application of the claims. Furthermore, there is no substantial identity
 4   between the claims of the ’167 Patent and the Accused Products.
 5          106.    A judicial declaration of non-infringement of the ’167 Patent is necessary and
 6   appropriate at this time so that Netflix can ascertain its rights and duties with regard to the parties
 7   and with regard to designing, developing, manufacturing, marketing, and selling its products.
 8          107.    This is an exceptional case under 35 U.S.C. § 285.
 9                                     FOURTH COUNTERCLAIM
10             Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,726,102
11          108.    Netflix restates and incorporates by reference the allegations of its counterclaims in
12   the preceding paragraphs.
13          109.    On or about December 14, 2022, Mr. Valjakka filed his Complaint for Patent
14   Infringement asserting that Netflix infringes the ’102 Patent. An actual case or controversy exists
15   between Netflix and Mr. Valjakka as to whether the ’102 Patent is infringed by Netflix.
16          110.    Netflix has not infringed and is not infringing any valid or enforceable claim of the
17   ’102 Patent, willfully or otherwise, directly or indirectly, either literally or by application of the
18   doctrine of equivalents. For example, the Accused Products do not cause “the content providing
19   server to validate the fingerprint, and, if the validation is successful, access[] the access restricted
20   content” as required by Claim 10 of the ’102 Patent, at least under Plaintiff’s apparent application
21   of the claims. Furthermore, there is no substantial identity between the claims of the ’102 Patent
22   and the Accused Products.
23          111.    A judicial declaration of non-infringement of the ’102 Patent is necessary and
24   appropriate at this time so that Netflix can ascertain its rights and duties with regard to the parties
25   and with regard to designing, developing, manufacturing, marketing, and selling its products.
26          112.    This is an exceptional case under 35 U.S.C. § 285.
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 1                                       FIFTH COUNTERCLAIM
 2                   Declaratory Judgment of Invalidity of U.S. Patent No. 8,495,167
 3          113.     Netflix restates and incorporates by reference the allegations of its counterclaims in
 4   the preceding paragraphs.
 5          114.     On or about December 14, 2022, Mr. Valjakka filed his Complaint for Patent
 6   Infringement asserting that Netflix infringes the ’167 Patent. An actual case or controversy exists
 7   between Netflix and Mr. Valjakka as to whether the ’167 Patent is invalid.
 8          115.     A judicial declaration is necessary and appropriate so that Netflix may ascertain its
 9   rights as to whether the ’167 Patent is invalid.
10          116.     The claims of the ’167 Patent are invalid for failure to meet the conditions of
11   patentability and/or otherwise comply with one or more of 35 U.S.C. §§ 101 et seq., e.g., 102, 103,
12   112, and 132.
13          117.     For example, the ’167 Patent is invalid under 35 U.S.C. § 101 because it is directed
14   to nothing more than the unpatentable abstract idea of distributing the delivery of content among
15   multiple actors. Further, each claim element of the asserted claims recites only features that are
16   well-understood, routine, and conventional, and nothing in the claims transforms the abstract idea
17   into an inventive concept.
18          118.     The ’167 Patent is also invalid as anticipated under pre-AIA 35 U.S.C. § 102 and/or
19   as obvious under U.S.C. § 103 in view of prior art to the patent, including without limitation, U.S.
20   Patent Nos. 6,912,514; 6,950,431; 6,970,939; 7,139,827; 7222,186; 7,228,416; 7,373,103;
21   5,905,952; 7,398,312; 6,708,213; 8,392,611; 7,149,797; U.S. Patent Application No.
22   2006/0114350; and Publication Nos. WO 00/65776; WO 01/22688; HU 222,337; EP 0726663; EP
23   0863646; EP 0709994; Publications Zegura et al., Application-Layer Anycasting: A Server
24   Selection Architecture and Use in a Replicated Web Service; Kung et al., Hierarchical Peer-to-Peer
25   Networks; Amini et al., Distribution Requirements for Content Internetworking; Green et al.,
26   Content Internetworking Architectural Overview; Cisco Systems, Inc., Close Encounters: Cisco
27   end-to-end solution pushes streaming and other feature-rich content closer to end users; Cisco
28   Systems, Inc., Speeding and Scaling Web Sites Using Cisco Content-Delivery Technology White

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 1   Paper; and Prior Art Systems Cisco Systems, Inc., Cisco Content Delivery Network (CDN);
 2   Inktomi Corporation, Inktomi Content Distributor; F5 Networks, Inc., Global-Site Controller; and
 3   Starburst Software, Inc., StarBurst OmniCast.
 4             119.   The ’167 Patent is also invalid under 35 U.S.C. § 112 as indefinite. At least as would
 5   be understood by one of ordinary skill in the art and/or as applied in Mr. Valjakka’s Complaint, the
 6   claim language is indefinite because it does not have a meaning that can be clearly and definitely
 7   determined from the patent, and thus fails to put the public on notice of what is and is not covered
 8   by these claims. The ’167 Patent fails to satisfy the requirements of 35 U.S.C. § 112(2) due to the
 9   claim language being indefinite.
10             120.   The ’167 Patent is also invalid due to improper and/or incorrect inventorship,
11   including nonjoinder under 35 U.S.C. §§ 101, 111, 115, 116, 282, and/or pre-AIA 35 U.S.C.
12   § 102(f) for Mr. Valjakka’s intentional omission of Iiro Karesniemi as a co-inventor of the ’167
13   Patent.
14             121.   Netflix seeks a declaration that the claims of the ’167 Patent are invalid pursuant to
15   one or more provisions of Title 35 of the United States Code, including but not limited to §§ 101,
16   102, 103, 111, 112, 115, 116, 282, and/or pre-AIA 35 U.S.C. § 102(f).
17             122.   This is an exceptional case under 35 U.S.C. § 285.
18                                       SIXTH COUNTERCLAIM
19                    Declaratory Judgment of Invalidity of U.S. Patent No. 10,726,102
20             123.   Netflix restates and incorporates by reference the allegations of its counterclaims in
21   the preceding paragraphs.
22             124.   On or about December 14, 2022, Mr. Valjakka filed his Complaint for Patent
23   Infringement asserting that Netflix infringes the ’102 Patent. An actual case or controversy exists
24   between Netflix and Mr. Valjakka as to whether the ’102 Patent is invalid.
25             125.   For example, the ’102 Patent is invalid under 35 U.S.C. § 101 because Claims 10
26   and 11 are directed to nothing more than the unpatentable abstract idea of providing restricted
27   access to content using multiple levels of validation. Further, each claim element of the asserted
28

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 1   claims 10 and 11 recites only features that are well-understood, routine, and conventional, and
 2   nothing in the claims transforms the abstract idea into an inventive concept.
 3          126.    The claims of the ’102 Patent are also invalid for failure to meet the conditions of
 4   patentability and/or otherwise comply with one or more of 35 U.S.C. §§ 101 et seq., e.g., 102, 103,
 5   112, and 132. For example, the ’102 Patent is invalid as anticipated under 35 U.S.C. § 102 and/or
 6   as obvious under U.S.C. § 103 in view of prior art to the patent, including without limitation, U.S.
 7   Patent Nos. 6,891,953; and 8,359,473; U.S. Patent Application Nos. 2016/0198202; 2003/0161473;
 8   2004/0064714; 2004/0098592; 2002/0018566; 2007/0208711; 2010/0185868; 2008/0071617;
 9   2008/0098212; 2005/0018854; 2010/0174608; 2012/0042389; and Publication No. KR 101103403
10   B1; Publications William Rosenblatt, William Trippe, Stephen Mooney, Digital Rights
11   Management; Ramya Venkataramu, Analysis and Enhancement of Apple’s Fairplay Digital Rights
12   Management; Eric Rescorla, SSL and TLS: Designing and Building Secure Systems; Naganand
13   Doraswamy, Dan Harkins, IPSec: The New Security Standard for the Internet, Intranets, and
14   Virtual Private Networks (Second Edition); H. Krawczyk, M. Bellare, R. Canetti, HMAC: Keyed-
15   Hashing for Message Authentication (RFC 2104); Bruce Schneier, E-Mail Security: How to Keep
16   Your Electronic Messages Private; David K. Gifford, Cryptographic Sealing for Information
17   Secrecy and Authentication; and S. Kent, IP Encapsulating Security Payload (ESP) (RFC 2406);
18   and Prior Art Systems the Apple FairPlay system, the Google WideVine system, and the Microsoft
19   PlayReady system.
20          127.    The ’102 Patent is also invalid under 35 U.S.C. § 112 as indefinite, for lack of
21   written description, and/or enablement, at least under Mr. Valjakka’s apparent application of the
22   claims. For example, the specification of the ’102 Patent does not provide an adequate written
23   description under 35 U.S.C. § 112(1) for at least the phrase “information describing encryption
24   properties” in Claim 10. The specification does not teach that the patentee had possession of a
25   method to access “information describing encryption properties” as recited in the claims. While
26   “information describing encryption properties” is recited briefly in the specification, there is no
27   description or teaching of what “information describing encryption properties” is. Thus, this claim
28   limitation lacks written description and enablement. The specification does not enable a person of

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 1   ordinary skill in the art to make use of the full scope of these claims without undue experimentation.
 2   Additionally, at least as would be understood by one of ordinary skill in the art and/or as applied in
 3   Valjakka’s Amended Complaint, this claim language is indefinite because it does not have a
 4   meaning that can be clearly and definitely determined from the patent, and thus fails to put the
 5   public on notice of what is and is not covered by these claims. Claim 10 of the ’102 Patent fails to
 6   satisfy the requirements of 35 U.S.C. § 112(2) due to the identified claim phrase being indefinite.
 7          128.    Netflix seeks a declaration that the claims of the ’102 Patent are invalid pursuant to
 8   one or more provisions of Title 35 of the United States Code, including but not limited to §§ 101,
 9   102, 103, 111, 112, 115, 116, 282, and/or pre-AIA 35 U.S.C. § 102(f).
10          129.    This is an exceptional case under 35 U.S.C. § 285.
11                                    SEVENTH COUNTERCLAIM
12                     Violation of the California Uniform Voidable Transactions Act
13                                      Cal. Civ. Code § 3439 et. seq.
14          130.    Netflix restates and incorporates by reference the allegations of its counterclaims in
15   the preceding paragraphs.
16          131.    Plaintiff Lauri Valjakka has violated CUVTA.
17          132.    Netflix has a contingent future claim for attorneys’ fees pursuant to 28 U.S.C. § 285.
18          133.    Valjakka incurred the obligation to pay creditors, including Netflix, and then created
19   the licenses between himself and CDN Licensing with intent to avoid paying said creditors.
20          134.    Specifically, Valjakka created CDN and the CDN licenses to move and shelter
21   money earned from his litigation campaign in order to fraudulently place his assets beyond the
22   reach of creditors, including Netflix.
23          135.    Valjakka’s fraudulent intent is evidenced by the multiple badges of fraud implicated
24   by his conduct.
25                  (a) Valjakka’s Insider Transaction Evidences His Fraudulent Intent
26          136.    Valjakka owns CDN. As such, badge (1) is satisfied because “the transfer or
27   obligation was to an insider.” Civ. Code § 3439.04(b)(1).
28          137.    Here, Valjakka transferred all rights to his patents, including all rights to the

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 1   Enforcement Assets, from himself personally as Plaintiff to himself as owner of CDN, evidencing
 2   the intent to commit a fraudulent transfer.
 3                  (b) Valjakka’s Retention of Control Evidences His Fraudulent Intent
 4          138.    Valjakka “retained possession or control of the property transferred after the
 5   transfer.” See Cal. Civ. Code § 3439.04(b)(2).
 6          139.    Valjakka is on both sides of the transaction, evidencing retained control. He also
 7   placed his personal attorney in the role of Chief Executive Officer at CDN, further evidencing
 8   retained control.
 9                  (c) Valjakka’s Extensive Efforts to Conceal CDN Evidences His Fraudulent Intent
10          140.    Valjakka concealed the transfer of the Asserted Patents and the Enforcement Assets.
11   See Cal. Civ. Code § 3439.04(b)(3).
12          141.    Valjakka engaged in extensive and successful efforts to conceal the CDN licenses
13   and the transfer of Enforcement Assets to CDN, including failing to disclose to Netflix and fourteen
14   (14) settlement licensees the existence of CDN
15          142.    Evidence of Valjakka’s efforts to conceal CDN are numerous. In addition to the
16   examples above, on June 9, 2022, Netflix served Interrogatory No. 8, which states: “Identify every
17   person or entity with any past, current, or prospective financial, ownership, or other interest in the
18   Asserted Patents[.]”
19          143.    Valjakka did not disclose CDN.
20          144.    It wasn’t until he was placed under oath in deposition that Valjakka admitted that
21   CDN had a financial interest in the patents, and that he failed to disclose that financial interest to
22   this Court:
23          Q. So does CDN Licensing have an interest in any proceeds that you make from this patent
24          in litigation?
25          A. Yes, it’s the receiver of those.
26          ...
27          Q. Does CDN Licensing have an interest to the outcome of this case?
28          A. Yes.

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 1             ...
 2             Q. CDN Licensing is not listed in this corporate disclosure statement pursuant to Civil Legal
 3             Rule 3-15 in the Northern District of California; correct?
 4             A. Correct.
 5   Valjakka Depo Tr., 308:10-24, 316:23-317:11.
 6             145.   Further, the language employed in the settlement and license agreements evidence
 7   Valjakka’s intent to conceal CDN and his fraudulent transfers, as demonstrated in the settlement
 8   agreements filed under seal concurrently herewith.
 9             146.   Valjakka has, at every single opportunity, concealed the existence of CDN and the
10   transfer of the Enforcement Assets.
11                    (d) Valjakka’s Removal and Concealment of The Enforcement Assets Evidences
                          His Fraudulent Intent
12
               147.   There is no question that Valjakka “removed or concealed assets.” See Cal. Civ.
13
     Code § 3439.04(a)(7) (“Whether the debtor removed or concealed assets.”). As shown herein and
14
     in Netflix’s Motion For Preliminary Injunction filed concurrently herewith, Valjakka has
15
     consistently secreted and concealed the ultimate recipient of the Enforcement Assets.
16
                      (e) The Low Cost of The CDN Licenses Versus The Value of The Enforcement
17                        Assets Evidences Valjakka’s Fraudulent Intent
18             148.   Regarding “whether the value of the consideration received by the debtor was
19   reasonably equivalent to the value of the asset transferred or the amount of the obligation incurred,”
20   the monies CDN licensing paid for its exclusive licenses are a fraction of the monies it stands to
21   receive, or has received, from the settling defendants. Badge (8) evidences Valjakka’s fraudulent
22   intent.
23                    (f) Valjakka &/or CDN &/or IPRA’s Likely Insolvency Evidences Valjakka’s
24                           Fraudulent Intent
25             149.   It appears likely that CDN Licensing nears insolvency. See Cal. Civ. Code §
26   3439.04(a)(9).
27             150.   In his June deposition, Valjakka announced that IPRA Technologies, the entity—
28   other than himself—standing to benefit from the litigation settlements, declared bankruptcy days

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 1   before, in May 2023. Further, in his deposition, Valjakka explained that CDN is being
 2   “restructure[ed]” because of “the bankruptcy”.
 3          151.    Thus, it appears that the Enforcement Assets being transferred from Valjakka to
 4   himself (CDN) may be used to cure or attempt to cure debtor claims upon IPRA Technology or
 5   upon CDN itself.
 6                  (g) Valjakka Transferred the Assets And Kept the Liabilities, Further Evidencing
                        His Fraudulent Intent
 7
            152.    Another indicium of fraud is that Valjakka transferred the Asserted Patents and
 8
     Enforcement Assets, but not the associated liabilities.
 9
            153.    Netflix’s claim for attorneys’ fees is a contingent claim creating a contingent
10
     liability held by Valjakka. See Cal. Civ. Code §§ 3439.01(b) and (c). Valjakka stands before this
11
     Court in name only, as explained in Netflix’s Motion For Preliminary Injunction, filed concurrently
12
     herewith.
13
                    (h) There Exists Considerable Further Evidence of Valjakka’s Fraudulent Intent
14
            154.    Substantial evidence supports a finding at this stage that Valjakka transferred or is
15
     about to transfer the Enforcement Assets to avoid paying Netflix’s contingent claim for Section
16
     285 fees.
17
            155.    Valjakka concealed CDN until the eve of the close of fact discovery. Even now,
18
     Valjakka has not provided: (i) an accurate LR 3-15 disclosure; (ii) truthful discovery responses; or
19
     (iii) accurate settlement agreements. To this day, Valjakka continues to conceal CDN from the
20
     Court. If Netflix had not translated the recently-produced CDN agreements from Finnish to
21
     English, CDN’s relevance would still be hidden. And if this Court does not enjoin Valjakka from
22
     transferring the Enforcement Assets to a Finnish entity before the Assets are used to absolve CDN
23
     and/or IPRA Technology of its Finnish creditors’ claims, Netflix will have no ability to recover its
24
     cognizable, actionable claim.
25
            156.    Netflix has thus shown a likelihood of dissipation of the claimed assets and that it
26
     will suffer from irreparable harm as a result.
27
            157.    Under CUVTA, Valjakka’s placing assets beyond the reach of Netflix’s claim is the
28
     cognizable harm. Valjakka is substantially responsible for that harm.
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 1

 2                                    PRAYER FOR RELIEF
 3        WHEREFORE, Defendant Netflix respectfully requests the following relief:
 4        A. Judgment in Netflix’s favor on all of its counterclaims;
 5
          B. Judgment declaring that the ’167 Patent is unenforceable due to inequitable conduct;
 6
          C. Judgment declaring that Netflix has not infringed and does not infringe any valid or
 7
             enforceable claim of the ’167 Patent;
 8

 9        D. Judgment declaring that Netflix has not infringed and does not infringe any valid or
10           enforceable claim of the ’102 Patent;
11
          E. Judgment declaring that the ’167 Patent is invalid for failure to comply with the
12
             requirements of 35 U.S.C. §§ 101 et seq., including at least §§ 101, 102, 103, 111, 112,
13
             115, 116, 282, and/or pre-AIA 35 U.S.C. § 102(f);
14
          F. Judgment declaring that the ’102 Patent is invalid for failure to comply with the
15
             requirements of 35 U.S.C. §§ 101 et seq., including at least §§ 101, 102, 103, 111, 112,
16
             115, 116, 282, and/or pre-AIA 35 U.S.C. § 102(f);
17

18        G. Judgment declaring that Netflix is not liable for the relief sought in the Complaint with
19           respect to Mr. Valjakka’s patent infringement allegations, denying Mr. Valjakka all
20           such relief, and dismissing Mr. Valjakka’s claims with prejudice;
21
          H. Judgment that all damages, costs, expenses, attorneys’ fees, prejudgment and/or post-
22
             judgment interest, and other relief sought by Mr. Valjakka be denied;
23
          I. A declaration that, pursuant to 35 U.S.C. § 285, Mr. Valjakka’s conduct in commencing
24
             and pursuing this action be found to render this an exceptional case and that Netflix be
25
             awarded costs, expenses, disbursements, and attorneys’ fees in connection with this
26
             action;
27

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 1        i.J. A Ffinding that Mr. Valjakka violated the California Uniform Voidable Transactions
 2            Act, and applying all necessary remedies thereto;
 3
          j.K.Such other and additional relief as this Court deems just and proper.
 4
                                            JURY DEMAND
 5
          Netflix respectfully requests a trial by jury on all issues so triable.
 6

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 1   Dated: July 6August 21, 2023              BAKER BOTTS L.L.P.PERKINS COIE LLP
 2

 3                                             By: /s/ Rachael D. LamkinElise Edlin
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                  NETFLIX INC.’S AMENDED ANSWER TO THIRD AMENDED COMPLAINT
